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                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE
                                        Western Division
                                       Office of the Clerk

Thomas M. Gould, Clerk                                                                  Deputy-in-Charge
242 Federal Building                                                           U.S. Courthouse, Room 262
167 N. Main Street                                                             111 South Highland Avenue
Memphis, Tennessee 38103                                                       Jackson, Tennessee 38301
(901) 495-1200                                                                             (731) 421-9200


                                   NOTICE OF RE-SETTING
                   Before Judge Jon Phipps McCalla, United States District Judge



                                            March 19, 2019

     RE:    2:18-cv-02483-JPM
            Dr. Clara Finch Cruz v. Acting Secretary Robert Wilkie

            Dear Sir/Madam:

           The JURY TRIAL previously set in the above-styled cause has been RESET before
     Judge Jon Phipps McCalla from MONDAY, SEPTEMBER 16, 2019 at 9:30 A.M. to
     MONDAY, FEBRUARY 24, 2020 at 9:30 A.M. in the Federal Building, Memphis,
     Tennessee.

            The PRETRIAL CONFERENCE has been RESET from FRIDAY, SEPTEMBER 6,
     2019 at 2:30 P.M. to FRIDAY, FEBRUARY 14, 2020 at 9:30 A.M. in the Federal Building,
     Memphis, Tennessee.

           The PROPOSED JOINT PRETRIAL ORDER must be furnished to the Court by 4:30
     PM on FEBRUARY 7, 2020. Please see attached instructions.

            If you have any questions, please contact the case manager at the telephone number or
     email address provided below.

                                         Sincerely,
                                         THOMAS M. GOULD, CLERK
                                         BY: s/Jeffrey Sample,
                                                Case Manager for Judge Jon Phipps McCalla
                                                901-495-1243
                                                jeffrey_sample@tnwd.uscourts.gov




     Attachment
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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TENNESSEE
                                 Office of the Clerk

                              PRETRIAL PROCEDURES

      Prior to the pretrial conference, counsel must do the following:

      Complete all discovery.

      Counsel are directed to confer prior to the pretrial conference to exchange
information as to the ultimate issues of law and fact, to eliminate unnecessary
or irrelevant issues that appear in the pleadings or discovery, to arrive at all
possible stipulations, and to exchange documents and exhibits which will be offered
in evidence at trial.

      Counsel shall prepare a single proposed Joint Pretrial Order that covers
the items set forth below. If counsel are unable to agree completely on a joint
order, they shall submit a proposed joint pre-trial order including all matters
agreed upon and a separate jointly prepared list specifying items of disagreement.
If counsel cannot agree upon a joint pretrial order, the attorney for each party
must submit a proposed pretrial order containing the [information below].
Plaintiff=s attorney is responsible for initiating the proposed pretrial order.
All counsel are responsible for ensuring the proposed pretrial order is timely
filed. The proposed pretrial order shall contain the following:

      1     In the caption, a complete listing of all parties , both plaintiff
            and defendant, who remain in the case as of the date the joint pretrial
            document is filed. Do not use "et al."

      2     Any remaining jurisdictional questions and the proper rulings
            thereon;

      3     A list of pending motions and the proper rulings thereon;

      4     A short summary of the case that may be read to the venire at the
            beginning of voir dire;

      5     The respective contentions of the parties, including contentions with
            regard to the nature and amount of damages and with respect to
            liability;

      6     A comprehensive written statement of uncontested facts that may be
            stipulated and read to the jury(possible sources of these agreed facts
            are the pleadings, discovery, or admission of counsel);

      7     Contested issues of fact;

            A written statement of contested issues of fact that will explain to
            the court the nature of the parties dispute;

      8     Contested issues of law;

            A written statement of the contested issues of law. This is not to
            be a restatement of the disputed facts but an itemization of the legal
            issues such as negligence, contributory negligence, etc. This is the


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            most important part of the joint pretrial order as these issues, not
            the pleadings, will govern the trial. The court wants an agreed list
            not a separate list for each party. If either party insists on a
            triable issue, it is to be listed in the pretrial order and will be
            a triable issue unless the court decides otherwise at the pretrial
            conference.

      9     A list of exhibits (except documents for impeachment only) to be
            offered in evidence by the parties, and to the extent possible, a
            stipulation on their admissibility. If the parties cannot stipulate,
            then the objections must be noted in the proposed pretrial order. To
            the extent possible, objections shall be ruled on at the pretrial
            conference.

            The parties are expected to have complied with Federal Rules of Civil
            Procedure 26(a)(3)(C) on pretrial disclosures. That rule requires
            disclosures of witnesses, deposition testimony, and exhibits, (other
            than impeachment evidence), to the opposing counsel thirty days before
            trial. Within fourteen days thereafter, the opposing party must
            serve and file a list disclosing any objection, together with the
            grounds therefor, to the admissibility of any exhibit, deposition
            testimony, or witness testimony.

            Before the conference, each party shall furnish to the other party
            for copying and inspection all exhibits which are to be offered in
            evidence.

      10    A list of witnesses for the parties, indicating those who will be
            called, in the absence of reasonable notice to opposing counsel to
            the contrary, and those who only may be called. Any objection to a
            witness in general must be noted in the proposed joint pretrial order.
            If any Rule 702 (Aexpert@) witnesses, including treating physicians
            who will give expert testimony, are listed, the witness shall be
            identified as such, along with the subject matter of the expert
            testimony. Opposing counsel shall specify any objection to the
            witness=s expertise or testimony in the proposed joint pretrial order.
            To the extent possible, objections will be ruled on at the pretrial
            conference.

      11    Deposition testimony:

            If a party desires to offer deposition testimony into evidence at the
            trial, he shall designate only those relevant portions of same which
            he wishes read at trial and advise opposing counsel of same. All
            objections to any such testimony must be noted in the proposed joint
            pretrial document so that the court may rule on such objection prior
            to trial. To the extent possible, objections will be ruled on at the
            pretrial conference.

      12    An estimate of the length of trial.

      13    A statement indicating whether the case is a jury trial or non-jury
            trial. If it is a jury case, counsel shall file with the court, two
            weeks prior to the beginning of trial, copies of all proposed jury
            instructions (one point per page), any special questions for voir dire
            examination of the jury venire, and any special interrogatories or
            verdict forms that counsel wish to submit to the jury. Counsel shall
            furnish opposing counsel a copy of same. The court will conduct a


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            general voir dire and either ask the proposed special questions of
            counsel at that time, or allow counsel to conduct limited voir dire.

            If the case is non-jury, the parties should submit proposed findings
            of fact and proposed conclusions of law in place of the proposed jury
            instructions. The amount of the ascertainable damages. The listing
            of the amount of damages shall not constitute an agreement as to the
            recoverability of same unless so stated.

      14    A list of the names of all attorneys interested in the case and copies
            of all interested firms= letterheads.

      15    A list of any special equipment such as video cassette recorders,
            overhead projectors, easels, computers, etc. that the parties intend
            to bring for use at the trial. (The court provides a presentation
            system including VGA monitors, an evidence camera, a video cassette
            recorder, and a video distribution system for these components. The
            court does not provide personal computers or laptops to counsel,
            however, at the Court's discretion, counsel may access the video
            distribution system with their own laptops to disseminate computer
            generated evidence.)

      Any motions in limine, not covered by the objections, must be filed two weeks
      before the trial date. The opposing party must file a response within five
      days of date of service of the motion in limine.

      The attorneys who will try the case are required to attend the pretrial
      conference. The parties are not required to attend the conference. The
      attorneys will be generally familiar with pretrial procedures and come to
      the conference with full authority to accomplish the purpose of the
      conference, which is to simplify and define the triable issues, expedite
      the trial, and save expense. At the time of the conference, counsel will
      report to the Court the prospects of settlement. For a discussion of pretrial
      conferences, see 23 Federal Rules Decisions 129-138.

      If an attorney fails to appear at the pretrial conference or to comply with
      the directions set forth herein, an ex parte hearing may be held and judgment
      of dismissal or default or other appropriate sanctions entered.
      After the pretrial conference, the Court will enter a Pretrial Order which
      shall govern the conduct at trial and will constitute the final statement
      of the issues involved.

      Please take note of the requirements of Local Rule [16.4] of this Court.
      All parties are required to submit to the court pretrial memoranda, including
      proposed findings of fact and conclusions of law at least 14 days prior to
      the date of the trial. The submission of pretrial memoranda is not required
      in jury cases.

      The procedures set forth in this letter apply to pro se litigants as well
      as attorneys.




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